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8                            UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10                                                 Case No. CV 20-07135-AB (GJSx)
     Jeremy Holland
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                      Plaintiff,
12                                                 ORDER OF DISMISSAL FOR
13   v.                                            LACK OF PROSECUTION WITHOUT
     Westerly Coffee Shop, LLC et al               PREJUDICE
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15                    Defendants.                  (PURSUANT TO LOCAL RULE 41)
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           On November 12, 2020, the Court issued an Order to Show Cause why this case
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     should not be dismissed for lack of prosecution. Plaintiff filed a response on November
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     17, 2020. The Court continued the Order to Show Cause Response deadline on
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     November 18, 2020. Plaintiff filed a response on December 10, 2020. The Court
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     continued the Order to Show Cause Response deadline on December 14, 2020. On
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     December 16, 2020, Plaintiff filed another written response to the Order to Show Cause.
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     On December 17, 2020 the Court continued the Order to Show Cause Response
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     deadline and ordered a response to be filed no later than January 6, 2021. No response
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                                              1.
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1    having been filed to the Court’s Order to Show Cause,
2          IT IS ORDERED AND ADJUDGED that the above-entitled case is dismissed,
3    without prejudice, for lack of prosecution and for failure to comply with the orders of
4    the Court, pursuant to Local Rule 41.
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     Dated: January 12, 2021         _______________________________________
7                                    ANDRÉ BIROTTE JR.
8                                    UNITED STATES DISTRICT COURT JUDGE
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